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             EXHIBIT 1
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Crypto Leaks




Ava Labs (Avalanche)
attacks Solana & cons
SEC in evil conspiracy
with bought law firm,
Roche Freedman
In his rush to hurt competitors, and distract regulators from his
actions, Emin Gün Sirer is harming everyone in blockchain




 i Our spy videos: This report shares extensive spy video. All video has
   been collected in accordance with applicable laws.




 i Whistleblower  appeal: With these disclosures, we aim to show people
   who are not crypto insiders what goes on behind the scenes. Do you
    want to be part of this movement? If you have any further information
    on this case and the different parties involved, become a whistleblower
    for Crypto Leaks and join our movement bringing honesty and integrity
    back to the crypto community.
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CASE #3 August 26, 2022 [UPDATED August 31]

Ava Labs, Avalanche and Roche Freedman
Ava Labs is an American for-profit company that develops and promotes the
Avalanche blockchain, which recently raised substantial funding in collaboration
with Three Arrows Capital, the failed hedge fund that has been accused of
acting like a Ponzi scheme. It is led by CEO and founder, Emin Gün Sirer, and
claims to employ more than 150 people. The Avalanche network currently has a
fully diluted market capitalization of more than $16.5 billion USD.




Roche Freedman is a law firm that widely sues people in crypto, currently
running at least 25 class actions, including against Binance, the crypto
exchange, and Ava Labs (Avalanche) competitors Solana Labs (Solana) and the
Dfinity Foundation (an Internet Computer contributor). It is led by founding
partner, Kyle Roche, and employs more than 30 lawyers.
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We can reveal that for several years they have been operating according to an
extraordinary secret pact that harms the crypto industry, and has a nature so
perverse that it undermines the integrity of the American legal system.

Some years ago, blockchain company Ava Labs and Amercian law firm Roche
Freedman, made a deal. A pact was formed that involved Ava Labs granting
Roche Freedman a massive quantity of Ava Labs stock and Avalanche
cryptocurrency (AVAX), now worth hundreds of millions of dollars, in exchange
for Roche Freedman agreeing to pursue a hidden purpose.

In a shocking series of video recordings, shared by this case investigation, Kyle
Roche himself now reveals the exact nature of their ongoing operations. The
case is highly disturbing in nature.

We can reveal that the pact directs Roche Freedman and their leader Kyle
Roche, to: 1) use the American legal system - gangster style - to attack and
harm crypto organizations and projects that might compete with Ava Labs or
Avalanche in some way, 2) sue crypto industry actors generally with the aim of
creating magnets for regulators such as the SEC and CFTC that distract them
from the highly commercial nature of Ava Labs and the Avalanche blockchain,
and 3) secretly pursue Emin Gün Sirer's personal vendettas against
individuals.

As usual, Crypto Leaks brings you the hard evidence that nobody else can
obtain. We explain with the help of words spoken by Emin Gün Sirer's own
lawyer, Kyle Roche.
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Ava Labs & Roche Freedman co-locate
August 2019, the newly formed law firm Roche Freedman moved into a co-
working space with Ava Labs, the for-profit company that develops and
promotes the Avalanche blockchain.




     0:00 / 0:25




Big money establishes a secret pact
In exchange for Roche Freedman providing what Kyle calls "legal services", Ava
Labs granted them massive amounts of:

  AVAX        the Avalanche blockchain's tokens.

  Ava Labs corp's stock (Ava Labs holds AVAX for founders and investors).

Kyle Roche says he was the very first person to receive Ava Labs stock after
Andreessen Horowitz, a venture capitalist that provided their initial funding.
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     0:00 / 0:31




So if Ava Labs was flush with cash having just received investment from
Andreessen Horowitz, why did they need to pay for "legal services" in this
way?

The answer is that they were not paying for normal legal services. The massive
payments of AVAX and Ava Labs stock established a secret pact. This was so
unusual, that it required the grant of assets that are worth hundreds of millions
of dollars today.

Kyle boasts he has a full point on AVAX, and Ava Lab stock...
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     0:00 / 0:28




Kyle says he has about a third of what Kevin Sekniqi has, who is the co-founder
and current COO (Chief Operating Officer) of Ava Labs.

Kyle says that he helps control the AVAX token supply, and helps Ava Labs
with "regulation issues," and "competitors..."




     0:00 / 0:52




Kyle refers to Emin Gün Sirer by his nickname, "Goon."

He says he trusts "Goon" and Kevin "like brothers," and that they have the "same
interests..."
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     0:00 / 0:13




As the conversation progresses, the truth about the pact begins to emerge:
Kyle confirms that they litigate against (sue) other parties in crypto as a
"strategic instrument" to "support Ava Labs" to a level where they made him an
"equity partner." Kyle says litigation "is an underused tool."

Kyle describes participating in the pact as a:




“
      completely different way than being a lawyer




     0:00 / 0:34
      Case 3:21-cv-06118-JD    Document 72-2    Filed 10/04/22   Page 9 of 36
Kyle Roche moved to Miami for "tax purposes."

He moved in with Kevin Sekniqi, Ava Labs' COO, reflecting just how tightly the
organizations work together.

In the years since he moved, Kyle Roche has failed to update his LinkedIn profile,
which still lists his location as the "New York City Metropolitan Area," which is a
more prestigious place to locate a law firm.

Naturally, Kyle's profile makes no mention of Avalanche or Ava Labs.

Behind this elaborate smokescreen, Kyle is working from Miami with two key
objectives: 1) to increase the price at which he can sell his AVAX tokens and Ava
Labs stock, and 2) to reduce the amount of tax he pays when he sells.




     0:00 / 0:07




Harvesting confidential information
As the conversation continues, the first signs of the perverse nature of the
secret Ava Labs/Roche Freedman pact begin to emerge.

Kyle reveals that he started out as a "crypto expert" for Ava Labs. But how, you
might ask, could a lawyer be a "crypto expert" for a company that develops and
promotes a blockchain.

Kyle reveals that answer. He can contribute a special kind of expertise and
knowledge — which he explains he has been able to obtain because:
“
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      I sue half the companies in this space

In the USA, when you sue an individual or company, you can demand access to
their confidential accounts, commercial data, email and social media
communications, and more, using a special legal process known as "discovery".
This has resulted in him:




“
      seeing the insides of every single crypto company

Kyle boasts that being able collect information in this way has resulted in him
becoming one of the:




“
      top 10 people [experts] in the world [in crypto]

If a blockchain company could unfairly gain access to the confidential
information of others, they could use it as a powerful competitive tool. It seems
that Kyle sharing this special expertise with Ava Labs was one of the key factors
that convinced Emin Gün Sirer to make the pact.

Until proven otherwise, we must assume that Ava Labs may even have directed
Roche Freedman as to what confidential information they should harvest from
the industry. It is unclear how much confidential information Ava Labs has
obtained, but the potential for extreme wrongdoing is very concerning.

Naturally, you can be sure that during discovery against a target, Roche
Freedman automatically demands the identities of investors, contractual
agreements with partners, customer lists, payroll details, and information about
every other kind of financial transacton, related to the organizations they are
litigating against, and their founders and executives. They will also ask for
complete email, Slack and other communication histories, which provide them
with a treasure trove of information valuable to a competitor, including even
technical insights.

The many crypto industry participants who have been litigated against by Kyle
Roche must now question exactly how much of their confidential data is now
in the possession of Ava Labs executives.
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     0:00 / 0:21




Harming competitors and fooling regulators
Roche Freedman runs litigation against numerous people and organizations in
the blockchain industry (i.e. it sues them). A favored method is to initiate class
actions. Several months ago, Kyle Roche claimed to be running more than 25
class actions.



  i Roche Freedman class actions: In their American class actions, they
    propose a class of people whom they claim have been harmed, for
        example because they lost money trading a cryptocurrency. They then
        create a lawsuit in their name, for example claiming that the
        cryptocurrency is an illegal security, and that therefore that those
        developing or promoting the blockchain involved, or those running
        crypto exchanges that enabled them to trade the cryptocurrency, are
        liable for the losses of everyone in the class. In the United States, they
        only have to find one person willing to be a representative plaintiff for
        the class to initiate action.


When they create class actions and other litigation against Ava Labs
competitors and crypto industry participants, Kyle Roche has revealed that
Roche Freedman often has two hidden purposes:
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  1. Surreptiously causing harm to a competitor.
     If there are two horses competing in a race, and you can hack at the leg of
     one, the other will win. Their horse is AVAX and Ava Labs stock. Initiating a
     class action against their competitors can harm them in multiple ways, and
     so they have secretly weaponized the legal system to do this. Even when
     they can make only a weak case, such that with high probability they will
     lose the litigation, this can still harm their targets, greatly profiting them.
     Moving the price of AVAX by only a small amount, by harming competitors,
     can produce big gains for them when they make sales from their huge
     hoard of AVAX tokens and Ava Labs stock. Ava Labs is not ever named as
     the litigant — the class of plaintiffs is — disguising what is really going on.

  2. Luring regulators, including the SEC and CFTC, away from Ava Labs.
     They often litigate against competitors in ways that make them look guilty
     of regulatory transgressions. Directing the attention of regulators towards
     competitors can cause further great harm to them, but also serves to lure
     regulators away from Ava Labs and their ravenously commercial behavior,
     which regulators would otherwise be very interested in. Kyle tells us he
     litigates to create "other magnets" for regulators to go after. They also do
     this to crypto actors who are not obvious competitors.

Here's a quick crib sheet for what is going on:

  Roche Freedman typically attacks competitors using American "class actions,"
  in which they claim to be representing a group of people who they claim have
  been "harmed" (the plaintiffs). For example, they can claim another
  blockchain's tokens are illegal securities, and consequently some people who
  traded them suffered unfair losses when the price fell.

  In the United States, class action legal filings are "protected speech." This
  allows Roche Freedman to make damaging claims about other projects that
  are in reality completely false, without risk of being sued for defamation (or
  "libel"). For example, they filed a lawsuit against the Dfinity Foundation that
  essentially parroted the false claims of Arkham Intelligence. The purpose is to
  damage the reputation of their targets, and/or surround their brands in FUD.

  Once Roche Freedman has initiated litigation against a target in crypto, they
  can collect/harvest confidential information from them using the legal
  discovery process, creating "expertise" that they can share with Ava Labs.
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  The nature of the American class action system forces targets to spend far
  more on defense than Roche Freedman spends litigating against them. This is
  because if they lose — and juries are unpredictable — the judge can award
  astronomical damages against them. This drains the resources of
  competitors, as well as distracting them from their core work.

  Roche Freedman's financial risk is limited to the money it spends on litigating
  against a target. This is because another quirk of the American legal system
  prevents the targets of their class actions from claiming their legal costs back
  from Roche Freedman if they win.

  Roche Freedman can spend a few million dollars litigating against an Ava
  Labs competitor, and lose the case, and still come out on top, if their actions
  harm or suppress a blockchain that competes with Avalanche (since if their
  actions may drive the price of AVAX even slightly higher, such is the size of
  their holdings, they can make a substantial profit).

  By naming the founders and executives of blockchain ecosystems and
  companies in their class actions, they can threaten them with total bankruptcy
  if they lose. This destablizes their key leaders and innovators, also placing
  tremendous pressure on their families, especially when there are children
  involved. Naturally, if they can cause family issues for the leaders of
  competitors, this will further degrade their capabilities.

  Ava Labs and Roche Freedman seek to surreptitiously increase the price of
  AVAX in a ruthless and highly commercial manner. Their desire to promote
  AVAX and increase its price at any cost greatly increases the risk that the SEC
  would class the AVAX token as an illegal security. To divert the attention of
  regulators like the SEC and CFTC elsewhere, they widely litigate against other
  actors in the blockchain industry accusing them of regulatory transgressions.
  This protects them by diverting attention elsewhere, while increasing the
  regulatory risk of the target, which is doubly useful to them if they are some
  kind of competitor.

Kyle Roche says he is the reason Ava Labs haven't been sued. He says that to
protect them, he makes sure that:




“
      the SEC and CFTC have other magnets to go after
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     0:00 / 0:35




     0:00 / 0:46




Kyle even claims that thanks to his efforts, he has ensured that for Ava Labs,
there's




“
      no such thing as regulation for what they want to do
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     0:00 / 0:14




Emin Gün Sirer's two-faced nature
Emin Gün Sirer regularly professes his support for other blockchain projects, and
indicates he wishes their ecosystems the best. Here he offers support for
Solana users when they were having their wallets emptied by the Slope wallet
exploit, claiming kinship by saying everyone in the space was affected, and then
offering apparently well-intentioned technical theories on what might be
happening (all of which proved wrong).

        Emin Gün Sirer         · Aug 2, 2022
        @el33th4xor · Follow
        There's an ongoing attack targeting the Solana ecosystem right now.
        7000+ wallets affected, and rising at 20/min. Because it's very early
        and the attack is ongoing, there's a lot of misinformation and
        speculation. So here are a few thoughts and clarifications.

        Emin Gün Sirer
        @el33th4xor · Follow

 First of all, our hearts go out to the Solana community.
 Attacks like this affect not just the directly targeted
 system, but everyone in the space indirectly by eroding
 people's confidence in the space. Here's hoping for a
 quick clarification and recovery, if possible.
 10:32 PM · Aug 2, 2022

     867           Reply       Share

                               Read 29 replies
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                                        p
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Nobody should be fooled. This tweet thread was created only weeks after
Roche Freedman filed a class action targeting the core of the Solana
ecosystem claiming that its SOL token is an illegal security.

The false narrative Emin is establishing by these attacks hurts everyone in the
industry. He should consider that one day he may find himself facing exactly the
same arguments that he is establishing in his rush to hurt competitors.


Do their actions make AVAX a security?
What is most frustrating, is that Ava Labs and Roche Freedman are probably the
most ruthlessly commercial operation in blockchain, which is amply revealed by
their secret weaponization of the legal system against competitors. Indeed, their
relentless subtle (and not so subtle) promotion of AVAX as an investment
opportunity, combined with their nefarious tactics, are in fact very likely to make
AVAX a security.

Kyle Roche has implored Emin Gün Sirer not to mention the price of AVAX so
as not to catch the eye of the regulators. However, Emin can't contain himself
when there is a major AVAX price rally.

During one such rally December 7 2021, Emin Gün Sirer even encouraged his
followers by leading them in an adapted Paul Simon song:

         Emin Gün Sirer
         @el33th4xor · Follow

  Hello #Avalanche my old friend.
  2:36 PM · Dec 7, 2021

      2.7K         Reply        Share

                                Read 117 replies



CASE UPDATE — Thanks to community
In the tweet below, Emin announced an Ava Labs marketing campaign on the
New York subway, with the strapline "It's never too late to be early." The not-so-
subtle sales pitch to investors is that it is still possible to be an early investor in
the AVAX token and make substantial profits. Emin's tweet announced the
campaign, which ran in parallel with other Ava Labs campaigns, on December
14, 2021. That day the AVAX price was $87.30. By December 15, the price was
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$101.18. By December 21, the price was $123.33. At the time of writing (end
August 2022) the price is around $19.

        Emin Gün Sirer
        @el33th4xor · Follow

 It's never too late to be early.




 10:04 AM · Dec 14, 2021

     4.1K        Reply         Share

                               Read 182 replies



Roche Freedman is continually suing other blockchain projects on the basis that
they have made regulatory infractions, and are therefore liable to token traders
that lost money. Yet, they have never sued Ava Labs, a blockchain project that
directly markets its tokens to retail investors as investment products, who have
consequently lost substantial funds.

Kyle Roche's own words, shared by our Case #3 videos, make it amply clear
why Roche Freedman have not, and will not, sue Ava Labs.


Emin Gün Sirer's personal vendettas
It is a great surprise that Ava Labs' legal proxy performs work prosecuting Emin
Gün Sirer's personal vendettas. This looks like a misuse of company resources
for personal purposes, which is a serious no-no in the corporate world.
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His regular use of "dark power" is also most unexpected for a man who likes to
brandish the title of "professor at Cornell University".

First blood: a social media pundit

Emin's first vendetta was against a Turkish social media crypto pundit who said
that he "heard he was a member of FETO."




     0:00 / 0:32




     0:00 / 0:20




Kyle Roche found out that the social media pundit was landing in Miami for a
business trip. He used the event to serve him papers, and ensnare him in the
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American legal system. The moment was videoed for Emin's pleasure.

Kyle shares that Emin now watches the video once a month — presumably to
relive the shock and pain caused by the ambush — revealing troubling
tendencies.

Kyle seems very pleased, and says:




“
      that's why Gün loves me...




     0:00 / 0:31




CASE UPDATE — Thanks to community
We have not investigated the rights-and-wrongs of the Crypto Emre case.
However, the community has produced interesting additional information. They
say that early in 2021, there was a lot of excitement about CBDCs (Central Bank
Digital Currencies), and that Ava Labs ran marketing campaigns in Turkey
claiming that they were in talks about running them on Avalanche with the
Turkish Central Bank, the Bank of England, and the Bank Of Canada. They say
that Emre then debunked the claims, by contacting the central banks involved,
and then tweeting their responses (see here, here and here) and that this kind of
thing was a key driver of Ava Labs' animosity towards him.

We also note that Kyle Roche/Roche Freedman threatened Emre in February
2021 on behalf of Ava Labs and Emin Gün Sirer. This contrasts with Emin Gün
Sirer's recent denials of close links to Roche Freedman.
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Surreptitiously attacking Craig Wright

CORRECTION — Thanks to community
Emin Gün Sirer has marketed himself as a Cornell University professor for years.
However, in fact, he appears to have ben removed from his post at the end of
2021. Regarding his actual role: Emin completed his PhD, then spent 7 years as
an assistant professor, then transitioned to associate professor, where he
remained for 14 years, never making it to university professor. We believe
frustrations with his academic career led him to a grandiose sense of his own
academic achievements within blockchain.

There are numerous indications that Emin Gün Sirer wishes to promote himself
as the "Father of Blockchain." Recently, he had his PR people update his
wikipedia page with the dramatic claim that his:




“
      Karma system, published in 2003, is the first cryptocurrency that uses a
      distributed mint based on proof-of-work

Experts in the field examining this paper say this claim is unjustifiable.
Meanwhile, while developing Avalanche, he anonymously published a paper
describing the consensus protocol he planned to use under the pseudonym
"Team Rocket," which he then drew attention to on social media with faux
rapture, as though it heralded the return of Satoshi Nakamoto:

       Emin Gün Sirer
       @el33th4xor · Follow

 Someone dropped this paper on IPFS and some IRC
 channels yesterday. It describes a new family of consensus
 protocols that combines the best of Nakamoto consensus
 with the best of classical consensus Huge breakthrough:
     Case 3:21-cv-06118-JD     Document 72-2   Filed 10/04/22   Page 21 of 36
 with the best of classical consensus. Huge breakthrough:
 ipfs.io/ipfs/QmUy4jh5m…
 7:58 AM · May 17, 2018

     1.2K          Reply   Share

                           Read 54 replies



It was only after sustained ridicule on social media, that Emin was eventually
forced to concede that it was his own team that produced the paper, thus
ending his quest to emulate Satoshi through anonymous publication.

Recently, Twitter bots (i.e. fake Twitter user accounts that are directed by
automated systems for the purpose of marketing), which appear controlled by
Ava Labs, either directly or indirectly, have hailed Emin as the "Father of
Blockchain."

Emin's grandiose sense of his own contributions to blockchain, and an envy of
the Satoshi Nakamoto crown, perhaps combined with a disposition towards
dark power, then led to him wanting Kyle Roche to pursue Craig Wright, who
claims to be part of a small team that invented Bitcoin.

Many people fiercely disagree with Craig Wright's claim, but most people
would not secretly attack him through the legal system:




     0:00 / 0:23




Through his attacks on Craig Wright, Kyle Roche boasts how he helped
massively devalue the Bitcoin Satoshi Vision (BSV) blockchain by billions of
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dollars. This will be of interest to Craig Wright, and every member of the BSV
cryptocurrency community who sustained losses:




     0:00 / 1:15




CASE UPDATE — Thanks to community
It is important to note that Emin Gün Sirer appears to have a long history of
attacking from the shadows. The /r/BSV reddit (a kind of online public forum)
was squatted by anti-BSV moderators who managed to acquire complete
control. They then trolled BSV enthusiasts wishing to use the forum as a place
to discuss the BSV network, disrupting their community. These moderators
made great efforts to remain anonymous, but now this official link to old reddit
content appears to reveal that Emin Gün Sirer himself was one of those
moderators.

Link: https://old.reddit.com/user/el33th4xor/
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CASE UPDATE — Thanks to community
It appears that Emin Gün Sirer gave Kyle Roche a painting of Craig Wright as a
gift after the first phase of the Roche Freedman case against him was complete.
This speaks to the importance of his working relationship with Emin Gün Sirer
and Ava Labs.

        Christen Ager-Hanssen
        @agerhanssen · Follow

 14th February 2022 in Kyle Roche @KyleWRoche office.
 Kyle proudly shows me the attached picture/painting of
 Craig Wright @Dr_CSWright that he said was a very
 special gift from Emin Gün Sirer @el33th4xor for
 “defeating” Craig Wright in the case Kleinman vs Wright




 4:07 AM · Aug 30, 2022

     176         Reply     Share

                            Read 34 replies




Class actions against competitors
At another venue with Kyle Roche, it quickly became clear that his favorite class
actions were against obvious Ava Labs competitors. When asked, he appeared
hardly able to conceal his glee when confirming that Dfinity — the not-for-profit
     Case 3:21-cv-06118-JD    Document 72-2    Filed 10/04/22   Page 24 of 36
developer of the Internet Computer blockchain, and the subject of a major
Roche Freedman class action — was a competitor to Ava Labs and Avalanche.




     0:00 / 0:13




Kyle's personal nature emerges?
Kevin Dutton, a psychologist and writer specializing in the study of psychopathy
at the University of Oxford, says that among professionals, lawyers count the
second highest proportion of psychopaths, because of the opportunities the
career affords them to pursue their predilections.

Psychopaths crave feelings of power and control over other people. Many
display traits of grandiosity, narcissiscm, sociopathy and Machiavellianism.

We are not saying Kyle is a psychopath, as only a psychologist can classify
people. However, we see these traits in his behavior, and in the following, Kyle
appears to express a disturbing determination to exert power and control over
others:
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     0:00 / 0:49




Filing class actions on behalf of Ava Labs
Kyle Roche has been enabled to freely pursue his predilections, because of the
vast amount of wealth provided by Ava Labs. He says he can sue people:




“
      just for the sport of it

Kyle boasts how he can file class actions that attack those competing with Ava
Labs (Avalanche), such as Solana Labs, and the Dfinity Foundation, on behalf of
Ava Labs.

At the time we collected these recordings, Roche Freedman had already been
working on two class actions against Dfinity, and had filed one, but had not yet
filed its first class action against Solana. However, he has now filed a major
class action against Solana. Everything he said proved true.




“
      So, I can sue Solana!

Both the class actions filed so far against Solana and Dfinity make accusations
that their tokens are illegal securities.
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     0:00 / 0:48




How Kyle Roche sees the legal system...
Kyle leverages the fact that judges and juries don't understand blockchain.




     0:00 / 0:30




He has a colorful strategy for bamboozling juries and gaining their trust.
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      0:00 / 0:31




He calls American juries "10 idiots." He feels confident that he can work these
"idiots" to control American class actions.




      0:00 / 0:29




Earlier, when boasting about the large settlement he believed he could obtain
from one of his class actions, he seems to say that a key deciding factor would
be the interests of his law firm (i.e. his interests). Shouldn't the decision to settle
be based soley on the interests of the class of plaintiffs he is representing?
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     0:00 / 0:17




Perhaps it's not surprising that he considers his own interests when deciding
how to conduct a case, because he describes one of his plaintiff classes —
people who lost money in crypto — as "100,000 idiots."




     0:00 / 0:23




Emin and Kyle's "iLO" horror
Class action lawsuits can be very destructive. They impose vicious legal costs
on those being attacked that they cannot reclaim, drain attention better used for
     Case 3:21-cv-06118-JD     Document 72-2     Filed 10/04/22   Page 29 of 36
productive purposes, and can impose terrible stress for years, including on the
famililies of those targeted. Class action frameworks are not intended for use
"just for the sport of it," or as a "strategic tool to competition," as Kyle Roche
suggests.

They are also not intended as a means for ruthless people to squeeze money
out of good people, in the mode of patent trolling, say. That kind of thing should
have no place in Western democracies like America.

But to Emin Gün Sirer and Kyle Roche, litigation is just a for-profit opportunity.

They plan to create a new business on Avalanche, which will support the
creation of something called an Initial Litigation Offering, or iLO. The idea is that
lawyers like Kyle will be enabled to propose new class actions and other
litigations en masse, and then blockchain investors will fund the proposed
litigation by buying tokens to share in proceeds obtained through out-of-court
settlements and damages awards.

In this sociopathic business vision, litigation is just another financial asset, and
they want to provide a framework that makes it easy to mint as much as
possible. Kyle appears to spare no thought for the social impact of his plans.

For Kyle Roche:




“
      litigation is the most uncorrelated asset that exists, period




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CASE UPDATE — Evidence share
Newly obtained correspondence from Sam Wang, Ava Labs' Director of
Business Development, shows that as recently as last December, Ava Labs was
introducing Kyle Roche as:




“
      spearheading our litigation financing initiatives

This reflects how this effort is a joint venture between Ava Labs and Roche
Freedman, and how they work as an integrated team. This evidence also
strongly contrasts with Emin Gün Sirer's recent denials of close links to Roche
Freedman:




Roche Freedman at war over its AVAX
Roche Freedman actually began as "Roche Cyrulnik Freedman". But according to
ex-partner Jason Cyrulnik, once it became apparent just how valuable their haul
of AVAX tokens and Ava Labs stock was, Kyle Roche and Devin Freedman
conspired to expel the older man from the partnership in February 2021 by out-
voting him, then keeping his almost 25% share for themselves.
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Now former partner Paul Fattaruso says he was hired on promise of 2% of the
firm's equity, but was not told of a secret agreement between five of the partners
(Kyle Roche, Devin Freedman, Amos Friedland, Nathan Holcomb and Edward
Normand) to share the AVAX tokens and Ava Labs stock exclusively between
themselves. These claims are now subject to numerous ongoing lawsuits.

The moral of the story is: be careful in your choice of colleagues.

CASE UPDATE — Evidence share
It was internal warfare within Roche Freedman that provided us with early hard
evidence regarding the nefarious goings-on. In particular, we share a lawsuit
filed by Jason Cyrulnik against his old partners, https://cryptoleaks.info/cyrulnik-
vs-rochefreedman.pdf. This contained an early internal Roche Freedman MOU,
which detailed how the AVAX tokens they received would be divided.

A payment of between 4-5M AVAX tokens was made monthly over three years,
terminating September 2022.
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Brad Garlinghouse lit the fuse
Before Kyle Roche founded Roche Freedman and made a pact with Ava Labs, he
was a relatively lowly associate at the law firm Boies Schiller Flexner. They were
representing Ripple, who were defending a lawsuit claiming their XRP token was
an illegal security. According to Kyle, he proposed to their CEO, Brad
Garlinghouse, that he create a new law firm that would specialize in suing others
in crypto, using exactly the same kinds of tactics that were being used against
Ripple. Kyle asked that Brad become his angel investor, and curiously Brad
agreed — one might have expected he would want to see less of this kind of
litigation across the industry.

For whatever reasons Brad Garlinghouse invested in Kyle Roche, and
supported him on his current path, it certainly didn't save him from the SEC.
Ripple's current travails might be a bad omen for Emin Gün Sirer.


Remedies and conclusion
For anyone who cares about crypto and the blockchain industry, Crypto Leaks
Case #3 should be a watershed moment. The movement was created by
visionaries, theoreticians, engineers and true believers. People with integrity. But
the value creation brought in cowboys and ruthless opportunists, who are just
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out to make money, whatever it takes. These people don't care about crypto and
blockchain, and what it stands for. They only care about themselves.

We have enough bad people in crypto already. Three Arrows Capital had highly
vocal and popular leaders, who played Pied Piper to the masses, but behind the
scenes they ran their hedge fund like a Ponzi scheme. Those same masses have
now lost billions that they thought were safe in cryto banks. People in crypto
deserve an industry where not everything is smoke and mirrors, and where they
can trust other people's integrity.

We must demand change.

Cornell University
Emin Gün Sirer has traded relentlessly on his "professor at Cornell" status, using
Cornell's brand to convince the masses that he primarily cares about the
advancement of blockchain science and has special technical skills. In fact, his
real modus operandi is more Professor Moriarty, who tries to get Ava Labs and
Avalanche ahead through clandestine attacks on competitors that involve
secretly weaponizing the legal system, as well as the pursuit of personal
vendettas. Cornell must decide whether it wants its reputation wielded for profit
by someone who seemingly operates without a moral compass. He uses their
brand to cloak himself, which directly supports his deceptive self-promotion, and
masks his Machiavellian schemes, which damages individuals and their families
and the wider crypto and blockchain community and industry. Cornell will not
want to be part of this charade.

Here is Emin's pinned tweet, which reflects how he has branded himself since
launching Ava Labs and Avalanche:

        Emin Gün Sirer
        @el33th4xor · Follow

 So many academics forget that our goal, as a profession,
 is *not* to publish papers. It's to change the world.
 6:09 AM · May 23, 2018

     9.8K        Reply         Share

                               Read 1.5K replies



Andreessen Horowitz and Polychain
In the realm of traditonal startup companies, venture capitalists used to only
invest in one project in each segment, so that they were never exposed to the
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conflict of interest involved in backing competing companies. Crypto changed
all of that, with some venture capitalists investing widely into native blockchain
tokens, seeing that a rising tide was "floating all boats," and to make sure they
had holdings in the few that would make it big. Now the check has come due,
and with the release of this report, some will now find that they have
unknowingly funded a project making unacceptable, clandestine, industry-
damaging and clearly immoral attacks on competitive projects that they also
backed (for example, both Andreessen Horowitz and Polychain recently threw
massive resources behind Solana Labs, a key target of Roche Freedman and
Ava Labs). They must now do the honorable thing, and help protect the industry
and projects that have made them so much money, by vocally disowning Ava
Labs.

Lawyers working for Roche Freedman
The legal system is a fundamental pillar of any democratic society, and its
integrity is something we must cherish and protect. But Roche Freedman has
perverted the role of a law firm, subverting and weaponizing the legal system
thereby promoting the value of blockchain tokens and stock owned by a few of
its partners. It undermines everything that makes the legal profession
honorable. Lawyers working at Roche Freedman who were previously unaware
of this behavior will not wish to condone it, accept a leader that lacks a moral
compass, or work for a law firm with a hidden purpose. Most lawyers do not go
through law school to end up living "Better Call Saul."

The American Bar Association
The mission statement of The American Bar Association is: "to serve equally our
members, our profession and the public by defending liberty and delivering
justice as the national representative of the legal profession." They advocate for
the profession as a whole, and the thousands of lawyers who work with integrity
within society's understanding of what being a lawyer entails. The ABA works to
"increase public understanding of and respect for the rule of law, the legal
process, and the role of the legal profession." This is entirely incompatible with
defending those people who have decided to follow "a completely different way
then being a lawyer," by weaponizing and perverting the legal system for
personal gain, which is also an assault on liberty and justice.

American Regulators (SEC, CFTC...)
Roche Freedman and Ava Labs are attemping to make fools out of regulators.
Through their nefarious weaponization of the legal system, they wish to
manipulate regulators by drawing them to competitors, and away from their own
activities. This behavior will undermine everyone's faith in the fairness of the
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regulatory system. Good actors will fear that unscrupulous competitors have
bought unscrupulous lawyers using hundreds of millions of dollars worth of
crypto assets, and that they are misusing the regulatory system to paint them as
targets for regulators, both to harm them, and distract regulators from their own
wrongdoings.

Ava Labs shareholders and executives
According to the evidence shared in this case study, Emin Gün Sirer has used
company resources to pursue his personal vendettas, which may now result in
reprisals that directly undermine shareholder value. This is a clear breach of
fiduciary duty. When any leader runs out of control in this way, it is time for them
to go. For example, John Wu, the President, could be made CEO, and Emin Gün
Sirer could be removed from his post to restore confidence. This will enable the
organization to reset its reputation and proceed in a more business-like manner.

Developers building on Avalanche
Once upon a time, those driving the blockchain project were pursuing dreams.
They met and discussed designs, they cooperated and collaborated, and they
were passionate about what was possible. But it wasn't long before the
opportunists came hunting, and they learned how to dress themselves in the
clothes of those they joined. There are many projects in the blockchain space
today, which often have dramatically different visions and approaches to R&D
and marketing. Some also have different moral compasses. Tech has always
been highly competitive, but the winners do not generally compromise their
integrity. When the smoke eventually clears, it will be seen that authenticity and
passion really count. Developers will prefer to work on a platform where they
can be proud of the team, ecosystem and ethos. Those that wish to stay with
Avalanche will demand change.

The crypto press
Most participants in the blockchain industry do not realize quite how focused
the crypto press is on promoting vested interests. It may come as a surprise to
many that not only did the crypto press fail to report on our previous cases (see
Case #1 and Case #2) but some parts actively suppressed information about
them. For example, to address the lack of reporting, we recently attempted to
purchase a paid press release on Cointelegraph, as others do, but were
mysteriously blocked, presumably to protect those our cases reference.
Meanwhile, Roche Freedman were able to purchase a paid press release on
Cointelegraph freely, which they then used to distribute misleading statements
to millions of users through Google news feeds.
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Our revealing exposé of Arkham Intelligence (Case #2) was not reported on at all
by the crypto press. The exposé has led to a defamation lawsuit being filed
against Arkham and the New York Times, but this has only been reported on in
the mainstream press by Politico . Today, DeFi and CeFi organizations once
lauded unquestioningly by the crypto press have caused multi-billion dollar
losses to retail investors, and it is time to move on towards fairer plains. This is
the only way our industry will ever reach maturity. We ask the crypto press to
report objectively on this case investigation. The videos speak for themselves
and tell a clear story that everyone in crypto needs to be aware of.

Those being sued by Roche Freedman
With the release of Crypto Leaks Case #3, those being sued by Roche Freedman
know the true measure of their adversary. They should respond accordingly, and
take the fight to the enemy. They should not settle. They must fight their corner
and make their case. Together they can weaken their adversary, and can help
make blockchain a better place.

Read other case investigations...
